Case 19-00561-JMM       Doc 97     Filed 08/04/22 Entered 08/04/22 15:57:10           Desc Main
                                  Document      Page 1 of 3




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Attorney for Debtor

                        UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF IDAHO

 In Re:
                                                 Case No. 19-00561-JMM
 JASON S. MONROE
              Debtor.                            Chapter 13




                    MOTION TO VOLUNTARILY DISMISS CHAPTER 13

       COME NOW the debtor, Jason S. Monroe, by and through his attorney of

record, Jon R Wilson of the firm WILSON LAW OFFICES, P.C., and hereby moves this

Court as follows:

       Debtor filed a petition for an Order of relief under Chapter 13 on May 20, 2019.

       Debtor, hereby moves this Court for an entry of an Order dismissing Debtor’s

Chapter 13 bankruptcy in accordance with the provisions of 11 USC 1307(b).

       The above-entitled case was commenced by the filing of a Voluntary Petition

under Chapter 13 and has not been converted under 11 USC §§ 706, 1112 or 1208.


MOTION TO VOLUNTARILY DISMISS CHAPTER 13 - 1
Case 19-00561-JMM            Doc 97       Filed 08/04/22 Entered 08/04/22 15:57:10                     Desc Main
                                         Document      Page 2 of 3



This case has not been previously converted and there are no pending motions to

convert or dismiss the case with prejudice.

        WHEREFORE, debtor requests this case be dismissed as allowed by law.

        Dated this 4th day of August, 2022.

                                                              /s/Jason S. Monroe ________
                                                              Jason S. Monroe, Debtor                      .

                                                              /s/ JON R. WILSON__________
                                                              Jon R. Wilson, of the firm
                                                              WILSON LAW OFFICES, P.C.

                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 4th day of August, 2022, I filed the foregoing
electronically through the CM/ECF system, which caused the following parties or counsel to be
served electronic means, as more fully reflected on the Notice of Electronic Filing:

19-00561-JMM Notice will be electronically mailed to:

William L Bishop on behalf of Creditor Fay Servicing, LLC as servicer for Wilmington Trust, National Association,
not in its individual capacity, but solely as trustee for MFRA Trust 2014-2
BillB@w-legal.com, TPerry@oakharbormanagement.com,DMartinez@OakHarborManagement.com

William L Bishop on behalf of Creditor Wilmington Trust, National Association, not in its individual capacity, but
solely as trustee for MFRA Trust 2014-2
BillB@w-legal.com, TPerry@oakharbormanagement.com,DMartinez@OakHarborManagement.com

Michael H Hekman on behalf of Creditor Fay Servicing, LLC as servicer for Wilmington Trust, National
Association, not in its individual capacity, but solely as trustee for MFRA Trust 2014-2
mhhekman@garlington.com, llroberts@garlington.com;tmbrown@garlington.com

Jeffrey Philip Kaufman on behalf of Trustee Kathleen A. McCallister
jpk@kam13trustee.com

Kathleen A. McCallister
kam@kam13trustee.com, kmccallister13@ecf.epiqsystems.com;documents13@kam13trustee.com

Kathleen A. McCallister on behalf of Trustee Kathleen A. McCallister
kam@kam13trustee.com, kmccallister13@ecf.epiqsystems.com;documents13@kam13trustee.com

Ronald Robert Shepherd on behalf of Creditor David Crosby
ron@rshepherdlaw.com, brenda@rshepherdlaw.com

Louis V. Spiker on behalf of Creditor Fay Servicing LLC
lvs@johnsonmaylaw.com, jfb@johnsonmaylaw.com

MOTION TO VOLUNTARILY DISMISS CHAPTER 13 - 2
Case 19-00561-JMM            Doc 97       Filed 08/04/22 Entered 08/04/22 15:57:10                     Desc Main
                                         Document      Page 3 of 3


David M Swartley on behalf of Creditor Wilmington Trust, National Association, not in its individual capacity, but
solely as trustee for MFRA Trust 2014-2
bknotice@mccarthyholthus.com, dswartley@ecf.courtdrive.com

US Trustee
ustp.region18.bs.ecf@usdoj.gov

Jon R Wilson on behalf of Debtor Jason S. Monroe
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boiselaw.jon@gmail.com;boiselaw.theresa@gmail.com;jerri@boiselaw.org;wilsonlawoffice1@gmail.com;r60436@
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                                                     /s/ JON R. WILSON          .
                                                     Jon R. Wilson, of the firm
                                                     WILSON LAW OFFICES, P.C.




MOTION TO VOLUNTARILY DISMISS CHAPTER 13 - 3
